       Case
        Case2:18-cr-00292-DWA
             2:18-cr-00292-DWA Document
                                Document667-1
                                         680 Filed
                                              Filed01/24/22
                                                    01/14/22 Page
                                                              Page11ofof11




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

               v.                                    Criminal No. 18-292

 ROBERT BOWERS

                                          ORDER

              AND NOW, to wit, this      24th       day of January 2022, upon consideration of

the Motion to Unseal, heretofore filed by the United States of America, it is hereby ORDERED

that said Motion is GRANTED.

              IT IS FURTHER ORDERED that the following documents shall be unsealed:

Doc. Nos. 650, 650-1, 650-2, 650-3, 650-4, 650-5, 650-6, 650-7, 650-8, 650-9, 650-10, 650-11,

650-12, 650-13, 659, 659-1, and 659-2.

              IT IS FURTHER ORDERED that Doc. No. 650-14 shall remain sealed.




                                                  HONORABLE DONETTA W. AMBROSE
                                                  UNITED STATES DISTRICT JUDGE
